            Case 1:18-cv-00295-LY Document 55 Filed 12/13/18 Page 1 of 1
                           .                                          .
                        IN THE UNITED STATES DISTRICT COURT                       2018   UEC       3   P11   L1:
                         FOR THE WESTERN DISTRICT OF TEXAS
                                                                                               1




                                   AUSTIN DIVISION


 COMMUNITY FINANCIAL SERVICES
 ASSOCIATION OF AMERICA, LTD., and
 CONSUMER SERVICE ALLIANCE OF
 TEXAS,
                                                          Civil Action No. 1:18-cv-295
      Plaint ffs,


 V.



 CONSUMER FINANCIAL PROTECTION
 BUREAU and JOHN MICHAEL
 MULVANEY, in his official capacity as
 Acting Director, Consumer Financial
 Protection Bureau,

      Defendants.




                                                ORDER
         Before the court in the above styled and numbered case is a Motion to Withdraw filed by

Nandan M. Joshi, filed December 12, 2018. Having considered the motion,

         IT IS ORDERED that the motion to withdraw, filed December 12, 2018,      is   GRANTED.


         SIGNED     thi4day of



                                                     LIN lIED S''AT     DISTRICT JuDGE
